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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:18-cv-00650-WYD

  SECURE-ALL COMPANY, INC., a Colorado corporation,

         Plaintiff,

  v.

  THE TRAVELERS INDEMNITY COMPANY OF CONNECTICUT, a Connecticut
  corporation

         Defendant.


                         STIPULATION OF DISMISSAL
  ______________________________________________________________________

         The parties, by and through their respective counsels of record, hereby submits this

   Stipulation of Dismissal between Plaintiff Secure-all Company, Inc. and Defendant the Travelers

   Indemnity Company of Connecticut.

         Plaintiff no longer wishes to pursue its claims against Defendant at this time and the parties

   have agreed to dismiss this matter without prejudice pursuant to F.R.C.P. 41(a)(1).

         As such, IT IS HERE BY STIPULATED AND AGREED, by and between the undersigned

   parties, through their respective counsel, that the above-captioned action be dismissed without

   prejudice. The parties, therefore, move this Court for dismissal of the entire action without

   prejudice pursuant to F.R.C.P. 41(a)(1). Each party will be responsible for their own attorney fees

   and costs.

         Respectfully submitted this 2nd day of May 2018.




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